UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF __ ALASKA

Form 1. Notice of Appeal from a Judgment or Order of a
United States District Court

 

U.S. District Court case number: | 3:20-cv-00195-SLG

 

 

Notice is hereby given that the appellant(s) listed below hereby appeal(s) to
the United States Court of Appeals for the Ninth Circuit.

 

 

Date case was first filed in U.S. District Court:| August 10, 2020

 

 

 

Date of judgment or order you are appealing: | December 3, 2021

 

 

 

 

Docket entry number of judgment or order you are appealing: | ECF 65

 

 

Fee paid for appeal? (appeal fees are paid at the U.S. District Court)
@ Yes © No © IFP was granted by U.S. District Court

 

List all Appellants (List each party filing the appeal. Do not use “et al.” or other abbreviations.)

 

State of Alaska, Department of Fish and Game

 

 

Is this a cross-appeal? © Yes @No

 

 

If yes, what is the first appeal case number? | N/A

 

Was there a previous appeal in this case? © Yes © No

 

 

If yes, what is the prior appeal case number?

 

Your mailing address (if pro se):

 

 

 

 

 

 

 

 

 

 

 

 

 

City: State: Zip Code:

 

 

 

 

 

Prisoner Inmate or A Number (if applicable):

 

 

 

 

 

 

Signature | /s/ Cheryl Rawls Brooking Date | 02/01/2022

 

 

 

Complete and file with the attached representation statement in the U.S. District Court
Feedback or questions about this form? Email us at forms@ca9.uscourts, gov

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